Case 2:04-cr-20430-SH|\/| Document 44 Filed 07/29/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COUR.T
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
V`S.

ROBERT GREGORY ,

Defendant.

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wm w seals

CR. NO. 04-20430-01~Ma

 

ORDER. ON CHANGE OF PLEA

 

This cause came on to be heard on July 28, 2005,

the United

States Attorney for this district appearing for the Government and

the defendant, Robert Gregory, appearing in person and with

appointed counsel, Ms. Pamela Hamrin.

With leave of the Court, the defendant enterad a plea of

guilty to Count 1 of the Indictment. Plea colloquy was held and

the Court accepted the guilty plea.

Sentencing in this matter is set for Monday, October 31, 2005

at 1:30 p.m.

The defendant is remanded to the custody of the United States

Marshal.

ENTERED this the 1814\ day of July, 2005.

M%M

 

SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 44 in
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Honorable Samuel Mays
US DISTRICT COURT

